Case 2:OO-cr-20137-.]PI\/| Document 94 Filed 06/23/05 Page 1 of 2 Page|D 89
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UNITED sTATEs DISTRICT COURT
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for W.o. os~ TN, salinas
TE DI T OF TENNES E
U.s.A. vs. Pm-ickM. wf DocketNo' 2' 7“02

Petition on Probation and Supervised Release

COMES NOW Michelle B.Sims , PROBATION OFFICER OF THE COURT presenting an
oflicial report upon the conduct and attitude of Patrick M. Crawforg , who was placed on supervision
by the Honorable Jon l§. McCQia sitting in the Court at Memphis, le@essee, on the l_§t_h__day of
Febm 2001 who fixed the period of supervision at five 151 years , and imposed the general terms
and conditions theretofore adopted by the Court and also imposed special conditions and terms as
follows:

 

1. The defendant shall pay restitution in the amount of $18,858.00.

2. The defendant shall not frequent casinos or other gambling establishments.

RESPECTFULLY PRESENTING PETITION FOR ACI`lON OF COURT FOR CAUSE AS FOLLOWS:
(ll' short insert here; if lengthy write on separate sheet and attach)

Mr. Crawford fits the criteria for early termination recommended by the J udicial Conference Committee
on Criminal Law. He has made progressive strides toward achieving supervision objectives and appeals
to pose no risk to public safety. Mr. Crawford has made a good faith effort to satisfy restitution, however,
he has an outstanding balance of $15,138.00. Can'oll Andre, Assistant United States Attomey, has no
objections to early termination Mr. Crawford has signed a Payment Agreement indicating his willingness
to cooperate with the Financial I..igation Unit.

PRAYING 'I`HA'I` TI'IE COURT WILL ORDER Patrick M. Crawford be discharged from
supervision with the understanding that the U.S. Attomey’s OHice will be responsible for the continued
collection of restitution

 

 

 

 

ORDER OF COURT Resp ,
Cons__i_dered and ordered this§ day mi } W
of \Jw\s» ,2005, and ordered nled Michelle R.\sims/ d
and made a part of the records in the above United States Probation Ofticer
case.
/G;`A (? M§O‘QQ,` Place: MLphis, Tenn§§e_e
Wd States Distn`ct Judge Date: June 14. 2005

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UNITED sTATE DISTRIC COUR - W'"RNTE D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 94 in
case 2:00-CR-20137 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

